                    Case 21-10849-CSS             Doc 19       Filed 06/10/21        Page 1 of 3




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       : Chapter 7
                                                             :
PARK PLACE DEVELOPMENT                                       : Case No. 21-10849 (CSS)
PRIMARY, LLC,1                                               :
                                                             :
                           Alleged Debtor.                   x
------------------------------------------------------------

                          NOTICE OF APPEARANCE AND REQUEST FOR
                              SERVICE OF NOTICES AND PAPERS

                    PLEASE TAKE NOTICE THAT the attorneys listed below hereby appear as

counsel for the above-captioned alleged debtor, Park Place Development Primary, LLC (“Park

Place”). Under chapter 7 of title 11 of the United States Code (the “Bankruptcy Code”) and

pursuant to Rules 2002, 9007, and 9010(b) of the Federal Rules of Bankruptcy Procedure (the

“Bankruptcy Rules”) and Bankruptcy Code sections 342 and 1109(b), Park Place requests that

copies of any and all notices, pleadings, motions, orders to show cause, applications, presentments,

petitions, memoranda, affidavits, declarations, orders, or other documents, filed or entered in this

case, be transmitted to:

     Gary W. Marsh                                             Brett D. Goodman
     TROUTMAN PEPPER HAMILTON                                  TROUTMAN PEPPER HAMILTON
     SANDERS LLP                                               SANDERS LLP
     600 Peachtree Street, NE                                  875 Third Avenue
     Suite 3000                                                New York, NY 10022
     Atlanta, GA 30308                                         Telephone: (212) 704-6000
     Telephone: (404) 885-2618                                 Facsimile: (212) 704-5966
     Facsimile: (404) 962-6983                                 Email: brett.goodman@troutman.com
     Email: gary.marsh@troutman.com

     Marcy J. McLaughlin Smith
     TROUTMAN PEPPER HAMILTON
     SANDERS LLP
     Hercules Plaza, Suite 5100
     1313 N. Market Street

1
    The address of the Debtor’s corporate headquarters is: 31 West 27th Street, 9th Floor, New York, NY 10001.


#116771746 v1
                Case 21-10849-CSS          Doc 19      Filed 06/10/21     Page 2 of 3



   Wilmington, Delaware 19801
   Telephone: (302) 777-6500
   Facsimile: (302) 421-8390
   E-mail: marcy.smith@troutman.com
                PLEASE TAKE FURTHER NOTICE THAT this request includes, without

limitation, not only the notices and papers referred to in the provisions specified above, but also

includes orders and notices of any application, motion, petition, pleading, request, complaint, or

demand, whether formal or informal, whether written or oral, and whether transmitted or conveyed

by mail, courier service, hand-delivery, telephone, facsimile transmission, electronically, or

otherwise, that (1) affects or seeks to affect in any way the rights or interests of Park Place or any

other party in interest in this case; or (2) requires or prohibits, or seeks to require or prohibit, any

act, delivery of any property, payment or other conduct by Park Place or any other party in interest.

                PLEASE TAKE FURTHER NOTICE THAT neither this notice of appearance

nor any prior or later appearance, pleading, claim, or suit shall waive any right of Park Place (1)

to have final orders in non-core matters entered only after de novo review by a higher court, (2) to

trial by jury in any proceeding so triable in this case or any case, controversy, or proceeding related

to this case, (3) to have the reference withdrawn in any matter subject to mandatory or discretionary

withdrawal, (4) to challenge subject matter jurisdiction, or (5) to any other rights, claims, actions,

defenses, setoffs or recoupments, under agreements, in law, in equity, or otherwise, all of which

rights, claims, actions, defenses, setoffs, and recoupments are expressly reserved.


                                      [Signature page follows]




                                                   2
#116771746 v1
                Case 21-10849-CSS   Doc 19      Filed 06/10/21   Page 3 of 3




Dated: June 10, 2021                TROUTMAN PEPPER HAMILTON SANDERS LLP
       Wilmington Delaware
                                    /s/ Marcy J. McLaughlin Smith
                                    Marcy J. McLaughlin Smith (DE 6184)
                                    Hercules Plaza, Suite 5100
                                    1313 N. Market Street
                                    Wilmington, Delaware 19801
                                    Telephone: (302) 777-6500
                                    Facsimile: (302) 421-8390
                                    E-mail: marcy.smith@troutman.com

                                    -and-

                                    Gary W. Marsh (pro hac vice to be filed)
                                    600 Peachtree Street, NE
                                    Suite 3000
                                    Atlanta, GA 30308
                                    Telephone: (404) 885-2618
                                    Facsimile: (404) 962-6983
                                    Email: gary.marsh@troutman.com

                                    -and-

                                    Brett D. Goodman (pro hac vice to be filed)
                                    875 Third Avenue
                                    New York, NY 10022
                                    Telephone: (212) 704-6000
                                    Facsimile: (212) 704-5966
                                    Email: brett.goodman@troutman.com

                                    Counsel to Park Place Development Primary, LLC




                                            3
#116771746 v1
